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UNlTED STATES DISTRICT COURT

wESTERN DISTRICT or TENNESSEE 05 JUN l h PH h= 23

Eastern Division
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UNITED STATES OF AMERICA
-vS- Case No. 1:05cr10038-T

RICHARD ROBERSON (02)
YANCEE PoTTS (03)

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 17, 2005 at 2:00 P.M. (ROBERSON) and 2:15 (POTTS) before United States
Magistrate Judge S. Thomas Anderson in Courtroom No. 407, Fourth Floor, United States
Courthouse and Federal Building, 111 South Highland, Jackson, TN . Pending this hearing, the
defendant shall be held in custody by the United States Marshal and produced for the hearing

D : J 14, 2005 »-"_"
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'lt`not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion ot` the government, or up to five days upon motion ofthe defendantl 18 U.S.C. § 3142(8(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection {2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ot`ticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 4?0 (BISS) Order of Temporary Detention

W U OF TN JACKSON

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CR-10038 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Jerry R. Kitchen

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FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

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Honorable J ames Todd
US DISTRICT COURT

